              Case 3:23-cv-00046-DMS-AGS Document 4 Filed 01/13/23 PageID.133 Page 1 of 3


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                J
                    Tel: (818) 788-9500 / Fax: (818) 501-0328
                4   Attomevs for Defendant
                    J. Michlel Hunter and Hunter Consulting &
                5
                    Survey Services, Inc.
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                8
                                                  UNITED STATES DISTRICT COURT
                9
                                                SOUTHERN DISTRICT OF CALIFORNIA
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I e6;          12   FRANCISCO MARQUEZ, an individual                      Case   No.: 23cv0046 DMS(AGS)
c
O 90=          13                               Plaintiff,                JOINT MOTION TO EXTEND
d EAE                                                                     TIME TO FILE RESPONSIVE
V ts3          14                                                         PLEADING TO INITIAL
rl.]
U A'.F                                                                    COMPLAINT PURSUANT TO
!r.l ulo^      15   PROGRES SIVE DIRECT INSURANCE                         LOCAL RULES 7.2 AND T2.I
       9sE          CO.; CARRIE ROCKWELL; J.
rLl                 MICHAEL HUNTER, HUNTER
z       .ot
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                    CONSULTING & SURVEY SERVICES,
               17   INC. and: DOES I through l0:
        ;H
        z      18                               Defendants.

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               20
                                    WHEREAS Plaintiff Francisco Marquez ("Plaintiff') initially filed this lawsuit
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                    in San Diego County Superior Court;
               22
                                    WHEREAS Plaintiff served the Complaint on all Defendants except Carrie
               23
                    Rockwell while the matter was pending in San Diego County Superior Court;
               24
                                    WHEREAS, on J anuary I 0, 2023 and prior to any Defendant fi ling   a   responsive
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                    pleading, Defendants Progressive Direct Insurance Co. ("Progressive") filed               a   Notice
               26
                    of     Removal alleging that this Court has diversity jurisdiction over the matter
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                    (Document No. 1.)
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             Case 3:23-cv-00046-DMS-AGS Document 4 Filed 01/13/23 PageID.134 Page 2 of 3



               I                   WHEREAS, on January 12, 2023, the Court issued an Order to Show Cause
               )   (Document No. 3), which set a briefing schedule on the issue of whether this Court
               J   has diversity jurisdiction over this matter;

               4                   WHEREAS the responsive pleadings of the served Defendants will be due
               5   prior to the completion of the briefing schedule      set by the Order to Show Cause;

               6                   WHEREAS the parties wish to avoid the filing of responsive pleadings that
               7   could be rendered unnecessary should this Court rule that it does not have diversity
               8   jurisdiction over this matter.
               9                   According,   IT IS HEREBY STIPULATED by and between Plaintiff,
     s
              t0   Progressive, Defendant J. Michael Hunter, and Defendant Hunter Consulting               &
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    =s l1
    o5             Survey Services, Inc., through their respective attomeys ofrecord, that each ofthe
Elzi6
J9d5 12            served Defendant's time to file a responsive pleading be extended until seven (7) days
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         =    l3   after this Court enters an Order as to whether it will exercise jurisdiction over this
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              t4   matter pursuant to the Notice of Removal filed by Progressive. The instant joint
H B4F         15   motion is brought pursuant to Local Rule 7.2 and 12.1 and this Court's inherent
nbc:
J:rd;         16   powers.
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              18   DATED: January 13,2023                              HAFFNER & MORGAN. LLP
     P        19

              20                                                  By: /si Christian Haffner
                                                                      Christian Haffner
              21
                                                                      Attorneys for Plainti ff
              ))                                                      FRANCISCO MARQUEZ
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                     I   DATED: January 13,2023                    NEMECEK& COLE
                     2

                     3                                        By . /s/ Julia Azrael
                                                                   JULIA AZRAEL
                     4
                                                                   Attorneys for Detbndants J.
                     5                                             MICHAEL HUNTER ANd HUNTER
                                                                   CONSLILTING & SURVEY
                     6
                                                                   SERVICES,INC.
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       5            l0   DATED: January 13,2023                    PATRICK HOWE LAW, APC
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       &e           lt
                                                              By . /s/ Patrick Howe
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o kOu                                                              PATRICKM. HOWE
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  UBS
                                                                   Attorneys for Defendants
vtll SruE           14                                             PROGRESSIVE DIRECT
(, 6'a I                                                           INSURANCE CO.
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